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                    EXHIBIT 43
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                                                                        December 15, 2020

 By Electronic Mail

 Nicholas Grippo                                               David Last, Assistant Chief, FCPA Unit
 Assistant United States Attorney                              Sonali Patel, Trial Attorney
 United States Attorney’s Office                               Fraud Section, Criminal Division
    District of New Jersey                                     United States Department of Justice
 970 Broad Street, 7th Floor                                   1400 New York Avenue, NW
 Newark, New Jersey 07102                                      Washington, D.C. 20005

                  Re:      United States v. Gordon Coburn and Steven Schwartz
                           Crim. No. 19-120 (KM)

 Dear Counsel:

         Along with Jones Day, we represent Gordon Coburn in the above-referenced matter. We
 write, joined by our co-Defendant Steven Schwartz, to request the Government’s assistance in
 obtaining from Larsen & Toubro Construction (“L&T Construction”) documents to which the
 Court has already determined we are entitled. We make this request in an effort to avoid
 unnecessary judicial intervention and the concomitant delay that might otherwise result from
 taking the steps necessary for the Defendants to compel production of such documents.

          On October 6, 2020, the Court granted the Defendants’ motions to issue subpoenas to
 L&T Construction pursuant to Federal Rule of Criminal Procedure 17(c). See Dkt. No. 108. The
 Clerk of Court issued the subpoenas on October 16, 2020. Defendants have since made repeated
 efforts to serve the subpoenas to L&T Construction. However, L&T Construction has refused to
 accept service of the subpoenas or to produce to the Defendants any of the materials sought
 therein. Specifically, L&T Construction has refused to authorize its counsel, Debevoise &
 Plimpton LLP (“Debevoise”), to accept service on its behalf, as indicated by Debevoise via email
 on October 18, 2020. Moreover, L&T Construction rejected Mr. Coburn’s attempt to serve a
 New Jersey-based related entity, Larsen & Toubro Infotech in Edison, New Jersey. 1 See Ex. A
 (October 20, 2020 T. Botti Aff.). Subsequently, by letter dated October 20, 2020, L&T
 Construction confirmed its refusal to accept service via either Debevoise or Larsen & Toubro
 Infotech. See Ex. B (October 20, 2020 Debevoise Letter). L&T Construction has flatly denied
 that it is subject to the jurisdiction of the Court altogether. See id.

        Judge McNulty has already held that the Defendants are entitled to subpoena the
 materials at issue from L&T Construction. See Dkt. No. 104. As described in the Defendants’
 subpoena applications and related pleadings, the materials sought from L&T Construction – as


 1
   On October 5, 2016, the Government sent a Formal Request for the Preservation of Records related to its
 investigation to the same New Jersey-based entity. See LT00004744.
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 amended by the Court – are essential to a full and fair adjudication of issues of constitutional
 import arising from the Government’s relationship with the companies in the course of
 investigating this matter. See, e.g., Dkt. Nos. 70, 71, 78, 86, 100, 101.

         Accordingly, having explored all of our options, we now request the Government’s
 assistance in our efforts to obtain from L&T Construction the materials it has refused to provide.
 The discovery produced to date demonstrates that L&T Construction – on multiple occasions
 across many months – voluntarily complied with document requests made by the Government
 during the investigation of this matter, sharing with the Government on a voluntary basis
 extensive documents and information. 2 Yet now, L&T Construction claims to be entirely
 beyond the reach of the United States legal system. Accordingly, we ask that the Government
 request that L&T Construction voluntarily also produce to the defense the materials set forth in
 the subpoenas, just as the Government sought voluntary productions from L&T Construction in
 the course of its own investigation.

        Alternatively, if L&T Construction is not amenable to such a request for further voluntary
 cooperation, we ask that the Government invoke its authority under the Treaty Between the
 Government of the Republic of India and the Government of the United States of America on
 Mutual Legal Assistance in Criminal Matters (“MLAT”) to seek these materials from L&T
 Construction in India on behalf of the Defendants. See Treaty Between the Government of the
 Republic of India and the Government of the United States of America on Mutual Legal
 Assistance in Criminal Matters, Oct. 17, 2001, TIAS 05-1003.




 2
   Specifically, the discovery demonstrates that L&T Construction – having collected more than 1.2 million
 documents pursuant to a voluntary internal review, see LT00004744–45 – made at least nine voluntary productions
 of documents and information, in response to multiple Government requests, between June 2017 and April 2018, see
 DOJ-LT-LTR-00000007, DOJ-LT-LTR-00000009, DOJ-LT-LTR-00000012, DOJ-LT-LTR-00000028, DOJ-LT-
 LTR-00000034, DOJ-LT-LTR-00000039, DOJ-LT-LTR-00000051. The documents and information voluntarily
 shared by L&T Construction with the Government included not only voluminous electronic materials but also the
 results of a forensic accounting review undertaken to identify suspicious transactions, see DOJ-LT-LTR-00000012,
 DOJ-LT-LTR-00000028; charts and other information put together in response to questions from the Government,
 see DOJ-LT-LTR-00000023; and detailed investigation findings, see LT00004753–4851.
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       Please let us know if you have any questions. We look forward to hearing from you.


                                                  Very truly yours,
                                                  KRIEGER KIM & LEWIN LLP


                                             By: ___________________________
                                                 Nicholas J. Lewin
                                                 Alexandra S. Messiter



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